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Not for Publication

                            UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY

                                         :
MICHAEL ALLEN, individually and on :
behalf of all others similarly situated, :
                                         :            Civil Action No. 17-12352 (ES) (MAH)
                       Plaintiff,        :
                                         :                            ORDER
                       v.                :
                                         :
QUICKEN LOANS INC. and                   :
NAVISTONE, INC.,                         :
                                         :
                       Defendants.       :
                                         :

SALAS, DISTRICT JUDGE

       It appearing that, on November 9, 2018, the Court issued an Opinion and Order granting

Defendants’ motions to dismiss Plaintiff’s Amended Complaint, dismissing Counts I through VI

with prejudice, and dismissing Count VII without prejudice (see D.E. Nos. 43 & 44); that the Court

permitted Plaintiff to file “a final amended complaint within 20 days of this Order,” but warned

that “failure to file an amended complaint within 20 days will result in dismissal with prejudice”

(D.E. No. 44); that more than 20 days have passed since the Court’s November 9, 2018 Order; and

that to date Plaintiff has not filed an amended complaint,

       IT IS therefore on this 4th day of December, 2018,

       ORDERED that this matter is DISMISSED with prejudice; and it is further

       ORDERED that the Clerk of Court shall CLOSE this matter.


                                                             s/Esther Salas
                                                             Esther Salas, U.S.D.J.
